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                UNITED STATES DISTRICT COURT
                       Northern District of Florida
                           Pensacola Division

 JEFF SIREN AND SIDNEY SIREN
            Plaintiffs,


                                                CA Number: 3:18-cv-1339-RV-GRJ

 v.

 OCWEN LOAN SERVICING, LLC,                     Jury Demanded
         Defendant

____________________________________/

                           Notice of Settlement

        The parties inform the Court that they have settled the claims in this

litigation and will provide a stipulation of dismissal upon execution of final

settlement documents.




 Date: November 2, 2018                   By:     /s/ Chris R. Miltenberger
                                                 Chris R. Miltenberger

                                          The Law Office of Chris R.
                                          Miltenberger, PLLC

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                                          Attorney for Plaintiffs

_________________________________________________________________

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                                       -and-



 Date: November 2, 2018                 By:    /s/ Aliza Malouf w/permission
                                               Aliza Malouf

                                       Hunton Andrews Kurth LLP
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                                       1445 Ross Avenue, Suite 3700
                                       Dallas, TX 75202
                                       amalouf@HuntonAK.com
                                       214.979.8229

                                       Attorney for Defendant

                           CERTIFICATE OF SERVICE


   This is to certify that on November 2, 2018 a true and correct copy of the
above was filed with the Court via the electronic filing system.

                                By:      /s/ Chris R. Miltenberger
                                         Chris R. Miltenberger




_________________________________________________________________

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